 

U.S. DISTRICT COURT
Case 3:20-cr-00283-N Document6 Filed 06/08/20 [PN@RTHERN RIO BOF TEXAS

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JUN -8 2020

  

UNITED STATES DISTRICT C
NORTHERN DISTRICT OF TE

DALLAS DIVISION CLERK U.S. DISTRICT CQURT
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UNITED STATES OF AMERICA eputy

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Case No. 3:20-mj-00562-BN *SEALED*

 
 

 

 

 

Vv.

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PHILIP RUSSELL ARCHIBALD (1)

ORDER OF TEMPORARY COMMITMENT

On this date the above named Defendant appeared before the undersigned magistrate judge after having
been arrested in the above numbered action for an offense against the laws of the United States, and

(1 The government having moved the magistrate judge to hold a hearing to determine whether any condition
or combination of conditions will reasonably assure the Defendant's appearances and the safety of any
other person and the community (18 U.S.C. §3142(f), as amended P.L. 98-473, 98 Stat. 1837), and

C The government's attorney having moved for a continuance of such hearing
It appearing that the Defendant may not be capable of posting of a monetary bond as a condition to assure
his appearance and the safety of any other person and the community (§3142(c), supra), and that a hearing
on whether the Defendant should be released on bond or should be detained pending disposition of the

criminal charges should be deferred from today's date, and

© «Defendant having moved for a continuance so that he can have an attorney present at the hearing,

 

IT IS, THEREFORE, ORDERED that the Detention Hearing is to be held on__ Uf [ l o] B20
at Oar— before the undersigned magistrate judge, unless extended for good cause. *

 

IT IS FURTHER ORDERED that the Defendant is committed to the custody of the United States Marshal
for confinement in a corrections facility separate, to the extent practicable from persons awaiting or serving
sentences or being held in custody pending appeal, pending the above scheduled detention hearing.

A copy of this order shall be transmitted to counsel for the parties.

SV

REBECCA RUTH
UNITED STATES MAI ISTRATE JUDGE

ENTERED this June 08, 2020.

*A continuance on behalf of the government will be granted without a hearing only upon the written consent of the Defendant or his
attorney. A continuance on behalf of the Defendant will be granted without a hearing upon the written request of the Defendant or his
attorney. Continuances shall not exceed five work days from the original setting for the Detention Hearing.
